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                                  December 7, 2020

Via Email
The Hon. Paula Xinis
United States District Court
6500 Cherrywood Lane
Greenbelt, Maryland 20770

      Re:    Collins et al. v. Tri-State Zoological Park of Western Maryland, Inc., et
             al./ Case No. PX-20-1225/Briefing on Certification of Question to
             Maryland Court of Appeals

Dear Judge Xinis:

       This letter is to serve as a reply to the letter pleading submitted by the
Plaintiffs on November 30, 2020. Based upon the statements made during the
telephonic hearing of November 12, 2020, the Defendants believed that the
Plaintiffs did not object to certification of the relevant question to the Court of
Appeals. It was expected by the Defendants that the Plaintiffs would submit a letter
outlining the manner in which the question might be presented to the Maryland
Court of Appeals were this Court to order that course of action. The letter submitted
by the Plaintiffs was therefore somewhat surprising to the Defendants and must be
read as an objection to any certification, and therefore the Defendants reply as
follows:

       The Plaintiffs raise several cases in support of their claim to have stated a
claim and/or to have standing under public nuisance doctrines. Leaving aside for
the moment the fact that the State of Maryland has a right to develop its own
doctrine of public nuisance, and that the laws of other states are merely persuasive
rather than controlling, the Defendants reply to the more important cases as follows
(and at the same time submit that the remainder of those cases are simply not
apposite to the instant case for obvious reasons):




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1.     Kuehl v. Sellner, Case No. 1281 EQCV008505 (Nov. 24, 2019 Iowa
Dist. Ct., Exhibit A to Plaintiffs’ letter pleading): This is an Iowa State court decision.
Although the Iowa court does ultimately find that a public nuisance exists, the court
also specifically notes on the first page of its decision that the Defendants have
raised no challenges as to standing or as to whether the Plaintiffs have stated a
claim. In many state courts, challenges to standing and/or statement of a claim are
waivable if not raised by the defendant. However, in a Federal court, standing is
jurisdictional and it would be clear error for the Court not to raise the matter sua
sponte were it to appear that standing did not exist. Furthermore, in this case, the
Defendants have not waived these defenses.

2.     Animal Legal Def. Fund v. Olympic Game Farm, Inc., 387 F. Supp. 3d 1202, 1207
(W.D. Wash. 2019): This is a case predicated upon the express language of a
Washington State statute, as pendant state litigation under an Endangered Species
Act case brought in the U.S. District Court. The State of Maryland has no express
statutes creating or defining a public nuisance under the circumstances alleged in
the instant litigation.

3.     Animal Legal Def. Fund v. Lucas, No. 19CV0040, 2019 WL 1082570, at *2−3
(W.D. Pa. Mar. 7, 2019): This case likewise relies upon public nuisance as defined
under Pennsylvania law. The Court’s decision that a claim was stated and/or that
standing exists under Pennsylvania law should have no bearing on Maryland law, in
the absence of an equivalent Maryland state law. Even were such an equivalent law
to exist, the Pennsylvania cases would be merely persuasive.

       The overall gist of Plaintiffs’ argument is that, under certain circumstances,
based upon the statutes of other states, or based upon the failure of defendants to
raise challenges to standing, that the instant litigation should proceed. But the
Plaintiffs have still not addressed the central point of the argument—that there is no
Maryland law even approximately on point in this case, to show that someone
outside the local community can either state a claim or have standing to raise a
public nuisance complaint. The Court of Appeals of Maryland should be the final
word as to whether a claim has been properly stated in this case. To do otherwise
would impose severe financial burdens on both parties, with an inevitable appeal at
the end of such litigation, rather than resolving the question immediately and with
minimal expense. Given that the Maryland Court of Appeals has never spoken on
this question before, then such an opportunity should be welcomed rather than
eschewed.
                                                 Very Truly Yours,

                                                 s/Nevin L. Young

                                                 Nevin L. Young

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